Case 2:18-cv-11640-TGB-APP ECF No. 7 filed 01/31/19   PageID.21   Page 1 of 2




                 UNITED STATES DISTRICT COURT

                 EASTERN DISTRICT OF MICHIGAN

                         SOUTHERN DIVISION


DAIMEON MOSLEY,                               2:18-CV-11640-TGB

                 Plaintiff,

                                                      ORDER
     vs.

BED BATH        &AMP;         BEYOND,    HONORABLE TERRENCE G.
INC.,                                           BERG

                 Defendant.



                       ORDER OF DISMISSAL

     The Court was notified that the parties had reached a resolution

in this matter. Therefore, the case will be dismissed.

     Accordingly, it is ORDERED that the Complaint is DISMISSED

WITH PREJUDICE. The Court retains jurisdiction over this matter

to enforce the terms of the settlement agreement. See, e.g., Moore v.

United States Postal Serv., 369 Fed. App’x 712 (6th Cir. 2010).
Case 2:18-cv-11640-TGB-APP ECF No. 7 filed 01/31/19             PageID.22    Page 2 of 2




    SO ORDERED.

    DATED this 31st day of January, 2019.

                                        BY THE COURT:


                                        /s/Terrence G. Berg
                                        TERRENCE G. BERG
                                        United States District Judge




                             CERTIFICATE OF SERVICE

              Copies of this Order were served upon attorneys of record on
                 January 31, 2019, by electronic and/or ordinary mail.
                                   /s/ Amanda Chubb
                                      Case Manager
                                     (313) 234-2644
